488 F.2d 551
    *d Yarlsv.Orleans Parish School Board
    73-2978
    UNITED STATES COURT OF APPEALS Fifth Circuit
    1/7/74
    
      1
      E.D.La.
    
    AFFIRMED
    
      
        *
         Summary Calendar case;  Rule 18, 5 Cir.;   see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        d
         Local Rule 21 case;  see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    